           Case: 1:17-cv-08209 Document #: 10 Filed: 12/27/17 Page 1 of 24 PageID #:67


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                                                                       1:17+t-08209
                                                                       Judge Edmond E' Chang
      (Enter above the    full   name                                  rrr-"g-iir"t" Judge Daniet G' Martin
      ofthe plaintiffor plaintiffs in
      this action)
                                                                        PC11

                                  vs.                            Case   No:
                                                                 (To    be    supplied by the Clerk                 of this     Court)
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      Mo*st;n\\,

      (Enter above the full name of ALL
      defendants in this action. Do not
      use "et al.")

      CHECK ONE ONLY:

                        COMPT,AINT UNDERTHE CIVI RIGHTS ACT, TITLE 42 SECTION 1983
                        U.S. Code (state, couRty, or municipal defendants)

                        CoMPLATNT UNDERTHE CONSTITUTION ("BMNS" ACTIOI9, TrrLE
                        28 SECTION 1331U.S. Code (federaldefendants)

                        OTHER (cite statute, if known)

          BEFORE FILLING OUT THIS COMPI-AINT, PLEASE KEFERTO "INSTRUCTIONS FOR
          FILING.'I FOLLOW THESE INSTRUCTIONS CAREFULLY.




                 [lfyou need additional space for ANY Section, please attach an additional sheet and reference that section.]
       Case: 1:17-cv-08209 Document #: 10 Filed: 12/27/17 Page 2 of 24 PageID #:68

           llf you need adctitional space for ANY section, please attach an additional sheet and reference that section.]




.I.       Plaintiff(s):

          A.            Name:        Lnu\\ k- g':\\='-{
          B.            List all aliases:                                    nlA
          C.            Prisoneridentificationnumber:                       b\Xql)
                                                                  *'\   \
          D.            Place of present      confine-"nt,AFd

          E.

          (lf thereis more than one plaintiff, then each plaintiffmust list his or her name, aliases, I.D.
          number, place of confinement, and current address according to the above format on a
          separate sheet of paper.)

 tI.      Defendant(s):
          (ln A below, place the full name of the first defendant in the first blank, his or her official
          position in the second blank, and his or her place of employment in the third blank. Space
          for two additional defendants is provided in B and C.)^

          A.             nerendant\J          : *(,,r A F,ur,\!h -touq .' u\ \ r.c -
                        Title:                                                                                  ?.*i{ur
                         Place of Employment:                                                               r"Iu*
           B.            Derendant:      d,*o$^"                    \l.U\N

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                         Place

           C.            Defendant:                               $fritg\(']


                         Place   of Employment:

           (lf you have more than three defendants, then all additional
           according to the above format on a separate sheet of paper.)




                                                                                                                           Revised 9/2007




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    Case: 1:17-cv-08209 Document #: 10 Filed: 12/27/17 Page 3 of 24 PageID #:69
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      Case: 1:17-cv-08209 Document #: 10 Filed: 12/27/17 Page 4 of 24 PageID #:70

          [lf you need additional space for ANY section, please attach an additional sheet and reference that section.]




III      List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any state or federal
         court in the United States:

         A.          Name of case and docket number ,
                     d \: \'l - cv - O'ltiS 6
                                                                     Li:, 'J E. G*.r\\                       {"

         B.          Approximate date of filing lawsuit: O                  CJtObgn 23 , 2O t?

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         c.          List allplaintiffs (if you had co-plaintiffls), includins any aliases:
                               '


         D.          List all defendants:




         E.          Court in which the lawsuitwas filed (if federal                         name the district; if state court,
                     name the county):         \\   9 '0.<t     .




         F.          Name of iudee to whom case was assiened:                     EA*o^\ E, CknaC
                      scr'rlGi:\cra\E Don :E\                             A.
         G.                                     EiAJ\^              Nnn                                 *\ x^\ U..,..sn\

         H.          Disposition of this case (for example: Was the case dismissed? Was it appealed?
                     Is it stillpending?):




         I.          Approximate date of dispositio"'               \\..\         Qar-.L.*aS

IF YOU HAVEFILED MORETIIAN ONE LAWSUIT, THENYOU MUST DESCRIBE THE
ADDITIONAL LAWSIIITS ON ANOTHER PIECE OF PAPER, USING THIS SAME
FORIvTA*T. REGARDLESS OF HOW MANY CASES YOU IIAVE PREVIOUSLY FILED,
YOU WILL NOT BE EXCUSED FROM FILLING OUT TIIIS SECTION COMPLETELY,
AI{D FAILURE TO DO SO MAY RESULT IN DISMISSAL OF YOUR CASE. CO.
PLAINTIFFS MUST ALSO LIST ALL CASES THEY HAYE FILED.




                                                                                                                         Revised 9/2007




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     Case: 1:17-cv-08209 Document #: 10 Filed: 12/27/17 Page 5 of 24 PageID #:71

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v.      Relief:

        State briefly exactly what you want the court to do for                      you. Make no legal arguments. Cite
        no cases or statutes.
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u.      The plaintiff demands that the case be tried by                  a   jury.           YES          tr      No


                                                                          CERTIFICATION

                                        By signing this Complaint,      I certifo that the facts stated in this
                                        Complaint are true to the best of my knowledge, information and
                                        belief. I understand that if this certification is not correct, I may be
                                        subject to sanctions by the Court.

                                        Signed this     O?.             day   of$,20-dJ


                                        (Signature of plaintiffor plainti

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                           Case: 1:17-cv-08209 Document #: 10 Filed: 12/27/17 Page 10 of 24 PageID #:76
                                                   OFFENDER'S GRIEVANCE (Continued)
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                                          ' RespoNSE To coMMlrrED PERSoN'S GRIEVANGE
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                                                                Grievance Officer's Report

Date Received:7126117                                        Date of Revlew:       8107117                                   Grievance *H431,1225

Committed Person: Louis Gulley                                                                                                    lD #:818477

Nature of Grievance: Medical Treatment




Facts Reviewed: Grievant clalms on a grievance dated 4128117 that around 4122115 he was prescribed psychiatric medication
untll April 2017. Oltender ctaims that he was been refuslng Risperda! since he became aware of gynecomastia. Offender
clalms that he had been experiencing chest pain. Offender claims that a side effect of Risperdal ls gynecom_astia or swelling
of breast tissue in men which causei chest pain. Offender claims that he was not warned about this side effect of Rlsperdal
and had he known about it he would not have agreed to take it. Offender claims that he is embarrassed to take a shower due
to his chest condition and requests to be seen by medlcal staff."




Grievance Officer finds that according to Psych Adminlstrator Dr. Mlrsky "Offender was seen by psychiatry on 7115117."




This Grievance Officer has no medical expertise or authority to contradict the doctor's/DON'yRNb recommendation                                 /   diagnosis.




Recommendaflon: Denied as grievant appears to be receiving medical care at this time. Offender is
advised to sign up for sick call in order to address any medical issues or concerns.




David Mansfield. CCII
                             pffi
                                      (Attach a copy of Commltted Person's Grievance, lncludlng counselor's response         lf


                                                       Chief Administrative Officer's Response

                                                                                                     E   t Oo not   concur




                                                                    Person's AppealTo The Director

I am appealing the Chief Administrative Officer's decision to the Director. I understand this appeal must be submitted within 30 days after the date of the
Chief Administrative Officer's decision to the Administrative Review Board, P.O. Box 19277 , Springfield, lL 62794-9277. (Attach a complete copy of the
orlglnal grlevance, lncludlng the counselor's response, lf appllcable, and any pertlnent documents.)




Distribution: Master File; Committed Person                                     Page   1                                                        DOC 0047 (Eff. 1012001)
                                                                                                                                                     (Replaces DC 5657)
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         Case: 1:17-cv-08209 Document #: 10 Filed: 12/27/17 Page 12 of 24 PageID #:78

Bruce                                                                                                                           John Baldwin
  Governor                                                                                                                      Acting Director




                                         The lllinois Department of Corrections
      1301 Concordia Court, P.O. Box 19277 . Springfield , lL 62794-9277 . (217) 558-2200 TDD: (800) 526-0844


                                                                                                           ,",., l0f ff r ?
 Facility:
                                               (e-
 This is in response to your grievance received on                 ) . This offlce has determined the issue will be addressed without
 a formal hearing. A review of the Grievance, Grievance Officer/CAO response to the grievance has been conducted. For a
 grievance that is direct review by the ARB, a review,of the Grievance has been conducted.

       your issue resardins: Grievance
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  o    Transfer denied by the   Facility or Transfer Coordinator   Commissary     O
  o     Dietary                                                                   O      Trust Fund

  o     Personal Property                                                         O      Conditions (cell conditions, cleaning supplies)

  o     Mailroom/Publications                                                     O      Disciplinary Report dated
                                                                                         lncident #
  o    Assignment (ob, cell)                                                       r              ,nF                                          tr l''h
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        written response of conective action to this office by                    outlined in DR525.                                           irytu
                                                                           o      Denied as Cell AssignmenUHousing is consistent with
  o     Denied, in accordance with DR504F, this is an                             the Department's determination of the appropriate
        administrative decision.                                                  Operational capacity of each facility.

  o     Denied, this office finds the issue was appropriately              o      Denied as procedures were followed in accordance with
        addressed by the facility Administration.                                 DR 420 for removal/denial of an offender from/for an
                                                                                  assignment.
  o     Denied in accordance with AD05.03.'103A (Monetaty
        Compensation for lnmate Assignments)                               o      Denied as this office finds no violation of the offender's
                                                                                  due process in accordance with DR504.80 and
  o     Denied, as the transfer denial by the facilityffCO on                     DR504.30. This office is reasonably satisfied the
                       was reviewed in accordance with                            offender committed the offense cited in the report.
        transfer proceduresand is an admiryistrative decision.

        Other




  FOR THE BOARD:                                                          CONCU
                                      Sarah Johnson
                                Administrative Review Board

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                Mission: To serve justice in lllinois and increase public safety by promoting positive change in
                   offender behavior, operating successfu/ reentry programs, and reducing victimization.
                                                         www.    i I I i noi   s.gov/i   d   oc
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           Case: 1:17-cv-08209 Document #: 10 Filed: 12/27/17 Page 13 of 24 PageID #:79
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Clinician Name (print): DR. KELLY
                Case: 1:17-cv-08209 Document #: 10 Filed: 12/27/17 Page 14 of 24 PageID #:80

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Clinician Name (prini): DR. KELLY

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Clinician Name (pnnt): DR. KELLY




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Bruce Rauner                                                                               {      /,t   John Bardwin
  Governor                          ,()                                         '-
                                                                                C\,6                    ActinsDirector




                                   The lllinois Department of Corrections
    1301 Concordia Court, P.O. Box 19277 . Springfield,lL62794-9277 . (217) 558-2200 TDD: (800) 526-0844


                               PSYCHOTROPIC MEDICATION INFORMATION
    DIRECTIONS:
    Your psychiatric provider has prescribed medication used to treat your symptoms. Your medication should
    be taken according to the directions explained by your provider and if you find yourself not able to take your
    medications as prescribed, please discuss this with him or her.

    ADMINISTRATION:
    Psychotropic medication is administered by a nurse either at cell front or when a medication line is called.
    Under no circumstances should you ever save your psychotropic medication or give it to another offender. If
    you choose not to take your psychotropic medication, please tell the nurse that you are "refusing". The nurse
    will then document the refusal and inform your psychiatric provider.

    REFUSAL:
    If you refuse your psychotropic medications, you   will be expected to sign a refusal form.

    TYPES OF MEDICATION:
    Your psychiatric provider is prescribing medication from different CLASSES of medication. These classes
    include: antidepressants, anxiolytics (anti-anxiety), mocd stabilizers, antipsychotics and side-effect
    medications

    SIDE EFFECTS:
    Your psychiatric provider will talk with you about the possible side-effects that you may experience when
    taking your psychotropic medication. You will find a list of common side effects below. Please inform staff
    about any of the side-effects you experience from medication.

    ALTERNATIVE TREATMENTS:
    Your psychiatric provider will talk to you about treatment options which include psychotropic medications in
    addition to group and individual therapies that are available to you in IDOC based upon your symptoms and
    level of functioning.

    CLASSES OF PSYCHOTROPIC MEDICATIONS
        1)   Antidepressants: This class of medications is used to treat both anxiety and depression. Other
             conditions treated with this class include PTSD and obsessive-compulsive disorder.
                 a. Prozac/Fluoxetine, Zoloft/sertraline, Paxil/paroxetine, Celexa/citalopram
                                       SIDE EFFECTS MAY INCLUDE: Insomnia, headache, sedation,
                                       restlessness, upset stomach, sexual dysfunction, withdrawal syndrome



                                                                       ; Sedation, weight gain,
                                       and an increased appetite.

                  c.   Effexor/venlafaxine
                                       SIDE EFFECTS MAY INCLUDE: Insomnia, sedation, elevated BP
                                       sexual dysfunction, headache, vivid dreams & withdrawal syndrome.



           Mission: To serue justice in lllinois and increase public safety by promoting positive change in
              offender behavior, operating successfu/ reentry programs, and reducing victimization.

                                                 www.i I I i n oi s.govli doc
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                                       {)-


            d.     Desyrel/Trazodone
                                     Cv,(2
                                    SIDE EFFECTS MAY INCLUDE: Dry mourh, morning
                                    dizziness, headache, nausea and prolonged painful penile erection.

   2) Mood Stabilizers:      This class of medication is primarily used to treat bipolar disorders but also may
        be used to treat mood swings and impulsivity.

            a.    Lithium           SIDE EFFECTS MAY INCLUDE: Thirsr, sromach upser,
                                   tremor in hands, acne-like rash, swelling, sedation,
                                           condition. REQUIRES REGULAR BLOOD TESTING.

                  Depakote/valproate
                                         d!-FECTS MAY INCLUDE: Tremor, stomach upset, easy bruising hair
                                         weightgain and sedation. REQUIRES REGUUIR BLOOD TESTING.

            c.    carbamazepine stDE    EFFECTS MAy INCLUDE: Sedation, reduced wBC
                                   clumsiness, Rash. REQUIRES REGULAR BLOOD TESTING

            d.    Lamictal/lamotrigine       SIDE EFFECTS MAy INCLUDE: Rash, sedation,
                                             and Insomnia.

             IF RASH DEVELOPS'"STOP MEDICATION* ANN NOTIFYSTAFF IMMENIATELYI

   3)   Neuroleptics (typical and atypical: This class of medication is used to treat hallucinations
        (hearing or seeing things) and delusions. The atypical neuroleptics may also be used for
        bipolar disorder alone or in combination with other medications.

            a.   Typical neuroleptlcs (Haldol/haloperidol, Prolixin/fluphenazine, Trilafcn/perphenazine,
                 Stelazine/trifluoperazine, Loxitane/loxapine, Navane/thiothixene
                 SIDE EFFECTS MAY INCLUDE: sedation, restlessness, dry mouth, muscle stiffness, tremor,
                 abnormal muscular movements, sexual dysfunction, irregular menstrual periods, and heart
                 irregularities. Your provider will screen regularly for abnormal muscle movements.

                                          (Zyprexa / olanzapine, Clozaril/ clozapine, Geodon/ziprasidone,

                 rrl,F+FllElvti,.rvllrr ll\LLUUEi SeqaUOn, festleSSneSS, dry mOUm,
                                                           restlessness, Ory mouth, mUSCle
                                                                                    muscle SUffneSS,
                                                                                             stiffrress, tfemof,
                                                                                                         tremor,
                 abnormal muscular movements, sexual dysfunction, irregular menstrual periods, elevated
                 lipids, elevated blood sugar, heart irregularities. Your provider will screen regularly for
                 abnormal muscle movements. REQUIRES REGULAR BLOOD TESTING

   4) Antidyskinetics: This class of medication is used to treat the side effects          of shaking or
        tremors from neuroleptics.

        Cogentin/benztropine, Benadryl/diphenhydramine
                 SIDE EI?FECTS ivIAY INCLUDE: tlry mouth, cr.rnstipation, biurred vision,
                 sedation, urinary retention.

  5) Anxiolytics: This class of medication
                                         is used to treat anxiety. It may take up to a month to be
     effective. Buspar/buspirone SIDE-EFFECTS MAY INCLUDE: sedation, headache, weakness, GI upset

  6) Other Medications/Side-Effects
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                                                              ,,,,,"*ffi*.,J*.*
                                                               Psychiatric Progress Note
    Date:                              3.8,t1                                    Facility                       Stateville Correctional Center
    Offender Name:
    Last, First,   M.l.   GULLEY, LOUIS                                lD Number: 818477                                       D.O.B.:7130168




 10. Historical Reliability:              Reliablep        Fairly reliable   I      Unreliable       I       Other   I
 11. Narrative Summary and Diagnostic lmpressions
          (Provide evidence to support diagnosis and any relevant sociat concerns that contribute to the overall clinical picture.
          lnclude current risk assessment, including suiCidal/homicidalthinking/plans, impulse control, insight, judgment, historical
          reliability,reasonfordiagnosticchangeorpsychotropicmedicationchangesordosagechange')




                                                                                                                                                     w
            last visit, offender's psychiatric symptoms     have:    lmproved        I          Remained same        f]    Worsened     !
 '12.,'   DSM Psychiatiic Diagnosis



                                       >C,{




Modified Global Assessment
Based upon diagnosis, Modified GAF and need for
supportive services, Offender is designated SMt? Yes                                n           No   E
:t3.' Psychialric.,PJan ,,,, ,..;.,,       ,     ,.,


f] AIMS completed today n AMS to be done by RN (if available)
! taus n cMP E BMP I CBC+Plts ! Thyroid Profile I Lithium !                                                                         Carbamazepine

           fIVPA I Lipid Profile f]Alc E EKG I other:
I Needs medicalreferral for:
fl Abdominal circumference:
I     Needs MHP       referralfor: E          Steep    hygiene   !   Anger       management              I   Trauma       history   !   Psychometric testing
      I     Other: (Complete DOC 0387)

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    Date:                  3       r.rt                                        Facility                              Stateville Correctional Center
    Offender Name:
    Last, First,    M.l.   GULLEY, LOUIS                               lD Number: 818477                                           D.O.B.:7130168

I     Directly observed therapy with thorough mouth checks due to HX of:

!     Crush/float all Psychotropics due           to E     Hx of   non-compliance                 E       Hx of hoarding medications

           !   other:
p     OfenAer has been giveh a copy of the Psychotropic Medication lnformation brochure.

fl    I have verbally reviewed any medication changes, side-effects, risks and benefits of treatment or refusing treatment with the
      offender.

!     Offender's psychiatric condition is considered chronic and he/she has been psychiatrically stable on the same psychotropic
      medication(s) at the same dose and has not been on crisis watch for the past 60 days.
E     MTP modified today as a result             of: I   Diagnosis   changeiaddition                  !     Psychiatric decompensation

       !       Psychotropic medication dosage/usage:
       fl      other:
                                                                                                                                                                    ,
Recommended Disposition (Level of       E Continue I Refer to: I Transfer to:
                                                  Care):
             ^p Outpatient Level of Care ! Residential Treatment Unit I tnpatient ! Crisis
                                                                                                                                                                     r
Resultant Visit Type:
                        _E Unctranged from Scheduled Visit Type       ! Changed from Scheduled Visit Type
tf Resultant Visit Type has changed from Scheduled Visit Type, explain the reason for the change:



14. MEDICATION ORDERS
                                          Medication                   Dosage" *                           --.-   -:: -- -     lnstructions

!      Continue            fu-trft^dt)                         ,^t                                        {,t5
ffi    Discontinue
E      Start               Vf al.+fl                           lfllu,rl                                   w5
                           ScripUorder                                                                                             Use Stock

                            S       Written                                                                                    !    Yes
                               !    T.O.A/erbal or faxed to:                                                                   ENo                                  G


Next Appointment Date:                        Ir*-,                                                                      End   Time:       t't,5y&/1,r.-
                                                                                                                                                      I
Evaluation completed by:

           Lp++zn"l                                                                       3.r-n
                  Print Name                                                                              Date                            Signature




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